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                                                                                    17-3827 (H)

                   IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

   In re:                                     *
                                             *
         LANDASH CORPORATION,                 *                 Case No.: 18-50300
                                              *                 Chapter 7
               Debtor.                        *                 Judge C. Kathryn Preston
   __________________________________________

   MOTION FOR RELIEF FROM THE AUTOMATIC STAY OF CREDITOR WBL
      SPO 1, LLC AS TO CERTAIN REAL PROPERTY LOCATED AT 885
            STERNBERGER ROAD, JACKSON, OHIO 45640, AND
           ALL RENTS GENERATED OR DERIVED THEREFROM

                  Comes now creditor WBL SPO 1, LLC (hereinafter “WBL”), by and

   through undersigned counsel, for its Motion for Relief from the Automatic Stay pursuant

   to 11 U.S.C. §§362(d)(1) and 362(d)(2), with respect to certain real property located at 885

   Sternberger Road, Jackson, Ohio 45640, as well as all rents, proceeds, profits and income

   derived therefrom (hereinafter collectively the “Real Property”), which is wholly owned

   by a non-debtor entity, 885 Sternberger Road LLC, a Delaware limited liability company.

   WBL submits that the Real Property is owned by a non-debtor entity, and is not property

   of this chapter 7 estate. Consequently, the automatic stay is inapplicable. See Lynch v.

   Johns-Manville Sales Corp., 710 F.2d 1194, 1196 (6th Cir. 1983); See also 11 U.S.C.

   §541. As such, the within Motion is being interposed solely in an abundance of caution.

                  To the extent this Court would conclude that the automatic stay imposed by

    11 U.S.C. §362 does apply, WBL submits that its interest in the Real Property is not being

    adequately protected, as the Debtor has failed to make the required payments to WBL

    when due, both prior to and after the filing of the within chapter 7 case. Moreover, the

    Debtor wholly lacks an ownership and/or an equity interest in and to the Real Property,


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    which is not necessary for an effective reorganization in this chapter 7 liquidation

    proceeding. Same is evidenced by, inter alia, Debtor’s failure to identify the subject Real

    Property as an asset of the within chapter 7 estate (Doc.1). In further support of its Motion,

    WBL states as follows:

                  1.      On January 22, 2018, Landash Corporation (hereinafter the

   “Debtor”) filed a voluntary petition for relief under chapter 7 of Title 11 of the United

   States Code.

                  2.      This Court has jurisdiction over this Motion pursuant to Section

   1334 of Title 28 of the United States Code.

                  3.      This Motion encompasses matters concerning the administration of

   an estate, and is a core proceeding under Sections 157(b)(2)(A), (G) and (O) of Title 28 of

   the United States Code.

                  4.      Venue in this Court is proper under Section 1409(a) of Title 28 of

   the United States Code, as this proceeding arises in and relates to the Debtor’s chapter 7

   case pending in this District.

                  5.      On or about January 5, 2017, World Business Lenders, LLC

   (hereinafter “World Business”) made and funded a loan to Debtor in the principal sum of

   $508,200.00 (hereinafter referred to as “the Loan”). In conjunction with this loan, Debtor

   executed a promissory note and business loan agreement a true and accurate copy of which

   is collectively attached hereto as Exhibit A.

                  6.      The obligations under the Loan were guaranteed by Jason E. Adkins,

   an Individual and Rebekah Holding LLC, a Delaware limited liability company,




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   (hereinafter “RHL”), pursuant to a commercial, unlimited and continuing guaranty

   contract, a true and accurate copy of which is attached hereto as Exhibit B.

                   7.       The obligations due World Business Lenders pursuant to the Loan

   as evidenced by the Loan and guaranty contract attached hereto as Exhibits A and B is

   secured by, inter alia, a mortgage (“the Mortgage”) granted to it by guarantor RHL, the

   owner of the subject Real Property at the time of the Loan. A true and accurate copy of

   same is attached hereto as Exhibit C. The Mortgage was duly perfected by appropriate

   action and recorded by World Business Lenders on January 27, 2017 at Official Record

   Book 122, Page 1426-1434 in the mortgage records of Jackson County, Ohio. Subsequent

   to the Loan, upon information and belief, the Real Property was transferred by RHL, to

   various non-debtor entities, resulting in 885 Sternberger Road LLC hereinafter (“SRL”)

   now being in title and its sole owner. A true and accurate copy of the deed which reflects

   that SRL holds title to the Real Property as of the chapter 7 petition date is attached hereto

   as Exhibit D.

                   8.       Within the ambit of the Mortgage, and as additional security for the

   performance of the obligations under the terms of the Loan and guaranty contract attached

   hereto as Exhibits A and B, RHL granted unto World Business Lenders an assignment of

   rents by which RHL granted World Business Lenders a continuing security interest in, and

   conveyed all of RHL’s right, title, and interest in and to, the rents, proceeds, profits and

   income generated or derived by the Real Property (hereinafter the “Rent Assignment”),.

   See, Exhibit C at p.5.

                   9.       On or about April 18, 2017, World Business Lenders assigned its

   interests in the Loan in addition to the Mortgage and Rent Assignment to WBL. A copy of




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   the Assignment to WBL is attached hereto as Exhibit E. WBL is the current holder and

   owner entitled to enforce the Loan, the Mortgage and Rent Assignment attached hereto

   against RHL (in personam and as to the Real Property), as well as assert a claim against

   Debtor (in personam) in this case.

                  10.     Upon information and belief, in addition to the encumbrances set

   forth herein, the Real Property is further subject to: (i) a lien due the Jackson County, Ohio

   Auditor/Treasurer for any accrued, and unpaid ad valorem taxes as to the subject Real

   Property; (ii) multiple and potential liens in favor of the State of Ohio, Department of

   Taxation. In addition to RHL, 885 Sternberger Road LLC, Investments Holding Inc., may

   have and/or claim an interest in the subject Real Property by virtue of it being in the chain

   of title to same between January, 2017 and August, 2017.

                  11.     There is no doubt that all of the above-described Loan, Mortgage

   and Rent Assignment attached hereto fully matured as of July 7, 2017 and have been

   breached as the Loan is unpaid and in default, with the last payment being received by

   WBL on March 3, 2017 in the amount of $5,324.14. Accordingly, as of February 7, 2018,

   WBL is due a principal balance on the Loan, Mortgage, and Rent Assignment attached

   hereto as Exhibits A and B in the amount of $388,222.36, plus interest in the amount of

   $405,748.20, penalties in the amount of $71,637.08 plus all costs, fees, charges and

   expenses, including, without limitation, all attorneys’ fees, in the amount of $58,167.94.

   A payoff statement and loan history of WBL evidencing same is attached hereto as Exhibit

   F.




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                                    FIRST GROUND FOR RELIEF

                  12.     To the extent that the automatic stay is implicated and/or deemed to apply

   to the Real Property, good and sufficient cause exists for the Court to sustain the within Motion

   in all respects. Bankruptcy Code Section 362(d)(1) provides that the Court must grant relief from

   stay “[f]or cause, including lack of adequate protection of an interest in property of [the moving]

   party in interest. See, 11 U.S.C. §362(d)(1). Although the Bankruptcy Code does not define

   “cause,” courts have recognized that “cause” under Section 362(d)(1) must be determined on a

   case-by-case basis. See, Int’l Bus. Machines v. Fernstrom Storage & Van Co., (In re Fernstrom

   Storage & Van Co.), 938 F.2d 731, 735 (7th Cir.1991).

                  13.     After the movant makes an initial showing of cause, the Debtor bears the

   burden of proof to demonstrate the absence of cause to grant relief from stay. See, 11 U.S.C.

   §362(g)(2); In re Kerns, 111 B.R. 777, 786 (S.D.Ind.1990)(“the debtor, as the party opposing

   the motion for relief from stay, had the ultimate burden of proof to show that cause did not exist

   for vacating the stay”); In re Sauk Steel Co., Inc., 133 B.R. 431, 436 (Bankr.N.D. Ill. 1991).

                  14.     In the case at bar, cause exists to lift the stay based upon the Debtor’s

   failure to provide adequate protection to WBL, and given that Debtor does not own the Real

   Property. To show a lack of adequate protection, a secured creditor must establish the following

   elements: (1) a debt owing from the debtor to the creditor; (2) a security interest held by the

   creditor that secures the debt at issue, and (3) a decline in the value of the collateral security the

   debt, along with the debtor’s failure to provide adequate protection of the creditor’s interest. If

   the secured creditor meets this burden, then the debtor must establish that the creditor is

   adequately protected. See, In re Bivens, 317 B.R. 755, 770 (Bankr.N.D.Ill. 2004 (citations

   omitted)).




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                   15.     Although “adequate protection” is not defined in the Bankruptcy Code,

   §361 provides that adequate protection may be in the form of cash, additional or replacement

   liens, or other relief that will result in the indubitable equivalent of one’s interest in such property.

   See, 11 U.S.C. §361; In re Plabell Rubber Products, Inc., 137 B.R. 897, 900 (Bankr.N.D.Ohio

   1992). “Adequate protection is designed to protect a secured creditor…against any decrease in

   the value of its collateral which may result from depreciation, destruction, or the debtor’s use of

   the collateral.” In re Gasel Transp. Lines, Inc., 326 B.R. 683 (6th Cir. B.A.P.2005). If the

   debtor’s proposed protections do not adequately preserve the creditor’s interest in the [subject

   collateral] as it existed on the petition filing date, then the creditor is not adequately protected.

   In re Carbone Cos., 395 B.R. 631 (Bankr. N.D. Ohio 2008)(citing Lend Lease v. Briggs Transp.

   Co. (In re Briggs Transp. Co., 780 F.2d 1339 (8th Cir.1985)).

                   16.     The concept of adequate protection is derived from the constitutional

   protection of property under the Fifth Amendment. Id. The requirement of adequate protection

   “reconciles the competing interests of the debtor who needs time to reorganize free from

   harassing creditors, and the secured creditor, on the other hand, who is entitled to constitutional

   protection for its bargained-for property interest.”          In re Raymond, 99 B.R. 819, 821

   (Bankr.S.D.Ohio 1989). Accordingly, adequate protection is recognized as a fundamental right

   afforded secured creditors in bankruptcy proceedings. In re Waste Conversion Techs, Inc., 205

   B.R. 1004, 1007 (Bankr.D.Conn. 1997).

                    17.    In the case at bar, WBL has not received adequate protection by Debtor

   since the filing of this case in January, 2018, and there does not appear to exist any source of

   income or cash flow which Debtor can utilize to adequately protect WBL.               Per the attached

   Exhibits, WBL is owed a debt by Debtor, and WBL holds a security interest in both the Real




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   Property along with the rents, products, proceeds and income generated by or derived therefrom

   granted by RHL, a non-debtor. The Real Property was subsequently transferred and is presently

   owned by another non-debtor entity, 885 Sternberger Road LLC. The subject Mortgage and lien

   was properly perfected by recording the Mortgage at the Jackson County, Ohio Recorder in

   accordance with Ohio law in January, 2017. Furthermore, it is not disputed that WBL is the

   current record holder of the Loan, the guaranty contract, and Mortgage attached hereto and is

   entitled to enforce same in all respects. In contrast, Debtor has not made any payments to WBL

   since the Petition Date, never owned the property, nor offered any adequate protection.

   Irrespective of the transfers of the Real Property after WBL’s funding of the Loan, WBL has and

   maintains valid liens and mortgages upon same and the Rents which flow therefrom. Since

   Debtor is not servicing the debt due WBL under the Loan, good and sufficient cause exists to

   grant WBL’s Motion under 11 U.S.C. §362 (d)(1) as to Real Property and rents which flow

   therefrom and as is identified herein above, all of which are owned by third-party entities.

                             SECOND GROUND FOR RELIEF

                  18.     Should the Court determine the automatic stay applies to the Real Property,

  Bankruptcy Code Section 362(d)(2) also provides for relief from stay if the debtor does not have

  any ownership or equity interest in such property, and same is not necessary for an effective

  reorganization. A debtor lacks “equity” if the aggregate amount of the claims secured by the

  property is greater than the property’s value. See, Pegasus Agency v. Grammatikais (In re Pegasus

  Agency), 101 F.3d 882, 886 (2d Cir.1996); Nantucket Investors II v. Cal Fed.Bank (In re Indian

  Palms Assoc., Ltd.), 61 F.3d 197, 206 (3d Cir.1995).

                  19.     Debtor admittedly has no interest in the Real Property. See, Petition at

  Doc.1. The total amount due WBL by Debtors under the Loan identified herein above and pursuant




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  to Exhibit F hereto as is $865,607.64 as of February 7, 2017 plus accrued unpaid interest at the rate

  of $1,225.83 for each day thereafter, plus all costs, fees, charges and expenses, including, without

  limitation, all attorneys’ fees. Coupled with the additional liens for ad valorem taxes due and

  accruing to the Jackson County, Ohio Auditor/Treasurer, and potential liens of the State of Ohio,

  there is clearly no equity in the Real Property given that the amount of the liens encumbering same

  exceed the value and/or any interest of Debtor therein, which is $0. Furthermore, WBL believes that

  the Real Property is not necessary for an effective reorganization, since the Debtor has no ability to

  reorganize its financial affairs in this chapter 7 case

                    20.     In sum, the Debtor lacks equity in the Real Property and the Real Property

    is not necessary for an effective reorganization. Consequently, relief from stay is also authorized

    by 11 U.S.C. §362(d)(2).

                    21.     A Relief from Stay/Adequate Protection Exhibit and Worksheet and payoff

    evidencing the indebtedness due and in support of the relief requested herein, pursuant to L.B.R.

    4001, is attached hereto as Exhibits F and G and which are incorporated fully herein by reference.

                                    THIRD GROUND FOR RELIEF

                    22.     There is no doubt that the automatic stay imposed by 11 U.S.C. §362(a)

    does not apply to the subject Real Property, and WBL should be permitted to foreclose upon same

    as WBL is not seeking to take any action as against Debtor in foreclosing upon the Real Property

    and exercising its in rem rights and remedies as against same.

                    23.     The Sixth Circuit “has made it abundantly clear that the §362(a)(1) stay of

    acts ‘against the debtor’ is to be strictly construed.” See In re Cincom iOutsource, Inc., 398 B.R.

    223, 226 (Bankr.S.D. Ohio 2008)(citing Patton v. Bearden, 8 F.3d 343 (6th Cir. 1993)); In re

    Johns-Manville Sales Corp., 710 F.2d 1194, 1196 (6th Cir.1983)(“It is universally acknowledged




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   that the automatic stay of proceeding accorded by §362 may not be invoked by entities such as

   sureties, guarantors, co-obligors, or otherwise with a similar legal or factual nexus to the chapter

   11 debtor.”).

                   24.    By foreclosing upon the Real Property, WBL is not seeking to obtain

   “possession of property of the estate or of property from the estate or to exercise control over

   property of the estate.” To the contrary, WBL seeks to foreclose upon non-debtor property. Hence,

   WBL’s foreclosure upon the non-debtor Real Property does not violate nor implicate the automatic

   stay. See, e.g., In re Geris, 973 F.3d 318, 319-321 (4th Cir. 1992)(holding that the automatic stay

   did not prevent foreclosure on non-debtor property where debtor held a subordinate deed of trust);

   In re Holiday Lodge, Inc., 300 F.2d 516, 519 (7th Cir.1962)(reversing trial court and holding that

   “‘The District Court had no jurisdiction to restrain state court proceedings to enforce a lien on

   property that did not belong to the debtor”);In re Everchanged, Inc., 230 B.R. 891, 893-894

   (Bankr.S.D. Ga.1999)(holding that where the debtor was not the owner of record, but merely held

   an option to purchase the property and was liable on the mortgage, the debtor’s automatic stay was

   inapplicable); In re Irwin, 457 B.R. 413, 418 (Bankr.E.D. Pa. 2011)(noting that the “black letter

   bankruptcy principle that §362(a) does not create a general, automatic stay of a creditor’s right to

   assert claims against non-debtor parties who are related to the debtor in some fashion”). Based

   upon the above authorities, and given that the Real Property is not owned by Debtor or identified

   as property or an asset of this chapter 7 estate, WBL submits that the automatic stay is inapplicable

   to the subject Real Property, and WBL’s efforts to foreclose can continue. To the extent

   applicable, cause exists for same to be lifted.

                   WHEREFORE, for all the reasons set forth herein, creditor WBL SPO 1, LLC

   requests that this Court enter an Order lifting, terminating, modifying, dissolving and annulling




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   the automatic stay imposed by 11 U.S.C. §362 of the Bankruptcy Code, or, alternatively,

   determining that the 11 U.S.C. §362 stay is inapplicable to the subject Real Property, so that WBL

   may proceed to effectuate its state court remedies with respect to the Real Property, as well as all

   rents, products, proceeds, income generated by or derived therefrom, and as provided by Ohio law.

   WBL further requests that any Order granted by the Court in response to the herein Motion waive

   the fourteen (14) day stay described by Fed. R.Bankr.P. 4001(a)(3). WBL additionally requests

   that this Court grant it any such other relief, at law and in equity, to which this Court deems it

   entitled.

   Dated: March 2, 2018

                                 Respectfully submitted,

                                 By:/s/ Jeremy R. Mason, Esq.
                                 Jeremy R. Mason (0072389)
                                 Paul M. Budnick (0091024)
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                                    NOTICE OF MOTION
                 Creditor WBL SPO 1, LLC, has filed papers with the Court seeking relief
   from the automatic stay (to the extent applicable) with respect to certain Real Property
   located at 885 Sternberger Road, Jackson, Ohio 45640, as well as all rents, profits and
   income derived therefrom.

                  YOUR RIGHTS MAY BE AFFECTED. You should read these papers
   carefully and discuss them with your attorney, if you have one in this Bankruptcy Case. If
   you do not have an attorney, you may wish to consult one.
                  If you do not want the court to grant the relief sought in the motion, then on
   or before twenty-one (21) days from the date set forth below and in the certificate of
   service for the Motion, you must file with the court a response explaining your position
   by mailing your response by regular U.S. Mail to the Clerk, United States Bankruptcy
   Court, Southern District of Ohio at Columbus, 170 North High Street, Columbus, Ohio
   43215, or your attorney must file a response using the court’s ECF System.
                  If you mail your response to the Court for filing, the Court must receive
   your response on or before the above due date stated above.
                  You must also send a copy of your response either by: (1) the court’s ECF
   System, or by (2) Regular U.S. Mail to:

   Jeremy R. Mason, Esq.
   Mason, Schilling & Mason Co., LPA
   5181 Natorp Boulevard, Suite 202
   P.O. Box 498367
   Cincinnati, Ohio 45249
   Attorneys for Creditor World Business Lenders, LLC

   Amy L. Bostic, Esq.
   1160 Dublin Road
   Suite 400
   Columbus, OH 43215
   Chapter 7 Trustee

   Asst. US Trustee (Col)
   Office of the US Trustee
   170 N. High St.
   Suite 200
   Columbus, OH 43215

                 If you or your attorney do not take these steps, the Court may decide
   that you do not oppose the relief sought in the Motion, and may enter an order
   granting that relief without further hearing or notice.

   Dated: March 2, 2018



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                              Respectfully submitted,

                              By:/s/ Jeremy R. Mason, Esq.
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                              Joseph M. Ruwe (0070141)
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                               CERTIFICATE OF SERVICE

          I hereby certify that on March 2, 2018 a copy of the foregoing Motion was served
   on the following registered ECF participants, electronically, through the Court’s ECF
   System at the email address registered with the Court:

   Asst. U.S. Trustee (Columbus)
   John W. Kennedy, Esq. Attorney for Debtor
   Amy L. Bostic, chapter 7 Trustee
   Kenneth M. Richards, Esq., Attorney for chapter 7 Trustee
   Leon Friedberg, Esq., Attorney for Great Southland Limited
   Thomas R. Allen, Esq., Attorney for Jenvic Holdings, LLC
   Erin L. Gapinski, Esq., Attorney for Jenvic Holdings, LLC

   and on the following by Regular U.S. Mail addressed to:

   Landash Corporation, Debtor                        Rebekah Holding LLC
   885 Sternberger Rd.                                c/o The Company Corporation, Agt.
   Jackson, OH 45640                                  2711 Centerville Rd., Suite 400
                                                      Wilmington, DE 19808
   885 Sternberger Road LLC
   Attn:Joseph Fulda                                  Rebekah Holding LLC
   148 Beach Ninth Street, Suite 2D                   885 Sternberger Rd.
   Far Rockaway, NY 11691                             Jackson, OH 45640

   State of Ohio, Dept. of Taxation                   Investments Holding Inc.
   Attn: Bankruptcy Division                          c/o Joseph Fulda
   30 E. Broad St., 21st Floor                        148 Beach Ninth Street, Suite 2D
   Columbus, OH 43215                                 Far Rockaway, NY 11691

   Jackson County, Ohio Treasurer
   P.O. Box 980
   Jackson, OH 45640-0980

   David M. Whittaker, Esq.
   Attorney for Jason E. Adkins
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   Two Miranova Place
   Suite 700
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                                              /s/ Jeremy R. Mason, Esq.




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